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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DOGGIE DENTAL INC, et ai., Civil Action No.
Plaintiffs, 19-746
v. (Judge Hornak)

MAX BUY, eg al.,

Defendants.

 

REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANTS SERVED ON
JULY 14, 2019

To the Clerk of the U.S. District Court for the Western District of Pennsylvania

You will please enter the default of the Defendants 2, 4, 6, 8, 9, 11, 12, 13, 14, 15, 19,
20, 22, 25, 26, 27, 28, 30, 31, 33, 36, 37, 38, 40, 41, 44, 46, 47, 48, 50, 51, 53, 54, 56, 62, 66,
71, 72, 77, 78, 84, 89, 92, 97, 100, 101, 102, 104, and 108, identified on Attachment “A”
hereto for failure to plead or otherwise defend as provided by the Federal Rules of Civil
Procedure as appears from the Affidavit of Brian Samuel Malkin in Support of Request to
Enter Default hereto attached.

Respectfully submitted,

Dated: August 26, 2019 /sf Brian Samuel Malkin
Stanley D. Ference III
Pa. ID No. 59899
courts@ferencelaw.com

Brian Samuel Malkin
Pa. ID No. 70448
bmalkin@ferencelaw.com

FERENCE & ASSOCIATES LLC
409 Broad Street

Pittsburgh, Pennsylvania 15143
(412) 741-8400 — Telephone

(412) 741-9292 — Facsimile
Attorneys for the Plaintiffs
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AND NOW, this DAY of , 2019, pursuant to the request to
enter default and affidavit(s) filed, default is hereby entered against the Defendants in

Attachment “A” for failure to plead or otherwise defend.

 

Clerk
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Schedule “A”

Defendants by Seller Name and Item Number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendant | Defendant/ eBay Item No
a e .

No. eBay Seller Name y
2 adamchahir9 | 173621663654
4 chmysm2018 312582286181
6 cute-little-bear 283429929853
8 deals4you9 142946752219
9 dedicatedsalesman 113291620121
1] hantetech 153460905493
12 malifal68 254193025258
13 parts_online_ 2015 333134236938
14 shengxinyide2019new 163661202341
15 shopiline 143070043285
19 4281768443 123728836755
20 adore-mart 273771923418
22 awesome*deals*today 264257214090

264238330272
25 cashow002

263996819056

333152522862
26 chawtabsu0

333152558517
27 crab-store 132917299708

 

 

 

 
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Defendant | Defendant/ Bav Item N

eba em INO.
No. eBay Seller Name y
28 dd2004720 163648416417
30 etrackonline 38263 1376693
31 global-onlineshop 192875156977

183570344990
33 hanguang2018

18359463005 1
36 homea2018 333151368645
37 home-store01 192877988183
38 ilovehome2018 153397186403
40 jostegend 303047473519

264247037577
4] lagacreye

264247044239
44 mai202 392262076927

183524497018
46 miggie77392012

183568259837
47 nununy3090 (now doublefaster) 233100866536
48 nutrasil 173831912125
50 oz-sweetdeals 132987937936
5] paradisestore12 123689950279
33 parsayt0 323760244487
54 pha_6296 401732550025
56 poramatse 143137777670

 

 

 

 
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Defendant | Defendant/ Bav Item N
eba em INO.
No. eBay Seller Name y
62 redflower88 192864978584
66 sellingdaily90 293068665207
71 thph_5710 133021409411
72 timetree88 35262575 1236
183681120066
77 usa. best.buying.experience
183680993414
78 usa_ezra 273779162823
84 yvse7734 163479765919

 

 

 

 

 

 

 

 
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Defendant | Defendant/ Bav Item N
eba em INO.

No. eBay Seller Name y

89 elshm_23 382855286796
92 japanmarketplace 153397624294
97 oobest_shop 123690828930
100 power-option 254033147886
101 presst_55 392187927096
102 ramah76m9 382911102525
104 rm_best_4u 163549164611
108 simshop2018 323499684952

 

 

 

 

 

 

 

 

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DOGGIE DENTAL INC, ef al., Civil Action No.
Plaintiffs, 19-746
Vv. (Judge Hornak)

MAX. BUY, et al.,

Defendants.

 

DECLARATION OF BRIAN SAMUEL MALKIN
IN SUPPORT OF REQUEST TO ENTER DEFAULT AGAINST DEFENDANTS
SERVED ON JULY 14, 2019

I caused the complaint and a summons in this action to be served on all of the Defendants
identified on Attachment “A” to the Request for Entry of Default on July 14, 2019; that the time
within which such Defendants may answer or otherwise move as to the complaint has expired;
that such Defendants have not answered or otherwise moved and that the time for such
Defendants to answer or otherwise move has not been extended.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Pittsburgh, Pennsylvania on August 23, 2019.

/s/ Brian Samuel Malkin
Brian Samuel Malkin
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CERTIFICATE OF SERVICE

I hereby certify that on August 23, 2019, the foregoing document is being filed via
the Case Management/Electronic Case Filing (CM/ECF) system; I also certify that a true and
correct copy of the foregoing is being served via email to the e-mail addresses at which
Defendants were served and/or via publication by posting a true and correct copy on the

website www.ferencelaw.com in accordance with the Order Authorizing Alternate Service.

/s/ Brian Samuel Malkin
Brian Samuel Malkin
